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                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF INDIANA
                    HAMMOND DIVISION AT LAFAYETTE


 DEAN E. ARNDT,

                         Plaintiff,

                        v.                                   CAUSE NO.: 4:19-CV-98-TLS

 KILOLO KIJAKAZI, Acting Commissioner
 of the Social Security Administration,

                        Defendant.

                                               ORDER

       This matter is before the Court on a Joint Stipulation to an Award of Attorney Fees Under

EAJA [ECF No. 23], filed on April 3, 2022. The parties stipulate to an award to the Plaintiff

under the Equal Access to Justice Act (EAJA), 28 U.S.C. § 2412, in the amount of $8,750.00 in

fees. This award will satisfy all the Plaintiff’s claims under the EAJA. Any fees paid belong to

the Plaintiff and not his attorney and can be offset to satisfy pre-existing debt that the Plaintiff

owes the United States. See Astrue v. Ratliff, 560 U.S. 586, 596–98 (2010).

       Having considered the stipulation and finding it well taken, the Court now GRANTS the

Joint Stipulation to an Award of Attorney Fees Under EAJA [ECF No. 23] and awards the

Plaintiff $8,750.00 in EAJA fees. The Court DENIES as moot the Motion for Attorney’s Fees

Pursuant to the Equal Access to Justice Act 28 U.S.C. § 2412 [ECF No. 18]. If the Commissioner

can verify that the Plaintiff owes no pre-existing debt subject to federal offset, the award will be

made payable to the Plaintiff’s attorney pursuant to the EAJA assignment signed by the Plaintiff

and his attorney.

       SO ORDERED on April 11, 2022.

                                               s/ Theresa L. Springmann
                                               JUDGE THERESA L. SPRINGMANN
                                               UNITED STATES DISTRICT COURT
